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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JEFFERSON-PILOT INVESTMENTS, INC., a                 )
North Carolina corporation,                          )
                                                     )
     Plaintiff,                                      )    Case No. 10-cv-07633
                  v.                                 )
                                                     )    Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois              )
corporation, SUNSET VILLAGE LIMITED                  )
PARTNERSHIP, an Illinois limited partnership;        )
TCF NATIONAL BANK, a national banking                )
association; L H BLOCK ELECTRIC COMPANY,             )
INC., an Illinois corporation, DOHERTY,              )
GIANNINI, REITZ CONSTRUCTION, INC., an               )
Illinois corporation, and EAGLE HEATING &            )
COOLING INC., an Illinois corporation, and           )
LAYNE CHRISTENSEN COMPANY, a Delaware                )
corporation; and LAYNE-WESTERN, a division of        )
Layne Christensen Company, a Delaware                )
corporation,                                         )
                                                     )
   Defendants.                                       )
_________________________________________            )
                                                     )
JEFFERSON-PILOT INVESTMENTS, INC., a                 )
North Carolina corporation,                          )
                                                     )
     Counter-Defendant/Counter-Plaintiff,            )
                                                     )
v.                                                   )
                                                     )
THE KLARCHEK FAMILY TRUST, a Trust                   )
organized under the laws of the State of Illinois;   )
JOHN COSTELLO, not individually but solely as        )
Trustee of the Klarchek Family Trust; JOHN           )
LOGIUDICE, not individually but solely as Trustee    )
of the Klarchek Family Trust; WOLIN, KELTER          )
and ROSEN, LTD., an Illinois corporation; BAUCH      )
& MICHAELS, LLC, an Illinois limited liability       )
company; CAPITAL FIRST REALTY, INC., an              )
Illinois corporation; CAPITAL HOME SERVICES          )
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CORP., an Illinois corporation; GILSON, LABUS & )
SILVERMAN, LLC an Illinois limited liability    )
company; JAY KLARCHEK, an individual,           )
MICHAEL PASHAWITZ, an individual, and           )
SUNSET VILLAGE LIMITED PARTNERSHIP, an )
Illinois limited partnership;                   )
                                                )
    Third-Party Defendants.                     )
                                                )
                                                )


                                              ORDER

        Receiver, Steven S. Spinell, filed his Sixth Receiver Report [Docket #286] on May 24,

 2012, covering the time period of March 10, 2012 through May 10, 2012, and requesting

 payment in the amount of $18,720.61 for services rendered in March, 2012;

        No objections were filed with respect to the Sixth Receiver Report;

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the pursuant to the

 request made in the Sixth Receiver Report, the Receiver, Steven S. Spinell, is authorized to make

 payment to himself out of Receivership funds for compensation in the sum of $18,720.61 for

 services rendered in March, 2012.

        By no later than June 25, 2012 (two days prior to the next status hearing), the Receiver is

 directed to provide the Court with a current balance sheet for the receivership estate as well as an

 income statement covering the period from the receiver’s appointment to the present.




 Date: June 10, 2012
                                       MATTHEW F. KENNELLY
                                       UNITED STATES DISTRICT JUDGE
